









Dismissed and Memorandum Opinion filed November 12, 2004









Dismissed and Memorandum Opinion filed November 12,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00974-CR

____________

&nbsp;

FERNANDO CORTEZ SABEDRA,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
232nd District Court

Harris County,
Texas

Trial Court Cause No. 999,107

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a guilty plea to the offense of burglary of
a habitation.&nbsp; In accordance with the
terms of a plea bargain agreement with the State, the trial court sentenced
appellant on September 1, 2004, to confinement for forty-five years in the
Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed November 12, 2004.

Panel consists of Justices
Anderson, Hudson, and Frost.

Do Not Publish C Tex. R. App.
P. 47.2(b).

&nbsp;





